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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                 )
                                         )     Case No. 1:04CR00070
v.                                       )
                                         )     OPINION AND ORDER
JASON JUSTUS,                            )
                                         )     By: James P. Jones
                          Defendant.     )     Chief United States District Judge

       On June 2, 2005, the court sentenced the defendant in connection with an

oxycodone conviction. In so doing, the court considered the federal sentencing

guidelines as required under 18 U.S.C. § 3553(a).

       Pursuant to its statutory authority, the United States Sentencing Commission

has amended the federal advisory sentencing guidelines applicable to criminal cases

involving cocaine base or crack cocaine, effective November 1, 2007. On December

11, 2007, the Sentencing Commission further decided that, effective March 3, 2008,

the amended guideline provisions will apply retroactively to offenders who were

sentenced under prior versions of the sentencing guidelines, and who are still

incarcerated. Stated generally, the practical effect of the Sentencing Commission’s

actions is that certain federal defendants convicted of offenses involving crack

cocaine may be eligible for a reduction in their current sentences, pursuant to the

provisions of 18 U.S.C. § 3582(c)(2).
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      On March 13, 2008, the court received a Motion to Reduce Sentence pursuant

to § 3582(c)(2) from the defendant.

      Having considered the defendant's Motion to Reduce Sentence, the court

concludes that the motion must be denied. This is because the defendant pled guilty

to conspiracy to distribute oxycodone, in violation of 21 U.S.C. §§ 841(a)(1) and 846.

The defendant was not charged with any violation involving crack cocaine, and the

defendant's recommended guideline range was not calculated with reference to a

quantity of crack cocaine. Consequently, the recent amendments to the guidelines

have no impact on the defendant's sentence.

      Accordingly, it is ORDERED that the defendant’s Motion to Reduce Sentence

(Doc. No. 254) is DENIED.

      The Clerk will send copies of this order to the defendant at his place of

confinement and to the United States Attorney's Office.

                                               ENTER: June 11, 2008

                                                /S/ JAMES P. JONES
                                               Chief United States District Judge




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